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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HECTOR HERNANDEZ, et al.,                     )
                                              )
        Plaintiffs,                           )      Case No. 18-cv-7647
                                              )
v.                                            ) The Honorable Judge Franklin U. Valderramaa
                                              )
WILLIAM HELM, et al.,                         )
                                              )
        Defendants.                           )

       PLAINTIFFS’ OPPOSED MOTION TO STRIKE DEFENDANTS’ MOTIONS FOR
        SUMMARY JUDGMENT AND TO REOPEN DISCOVERY IN LIGHT OF THE
                           CITY’S NEW DISCLOSURES

        NOW COME, Plaintiffs, by and through their undersigned counsel, Gianna Scatchell,

Esq., Law Offices of Gianna Scatchell, Inc., and move this Honorable Court to strike

Defendants’ Motions for Summary Judgment and for an order reopening discovery for the

limited purpose of taking additional discovery in light of Defendants’ latest disclosures.

     1. Plaintiffs have consulted with counsel for Defendants regarding this Motion on

        September 29, 2020 via email and confirm that Defendants oppose this Motion.

     2. Discovery has been closed in this matter since in or about March 11, 2020. (Dkt. 120).

     3. All Defendants filed Motions for Summary Judgment on June 2, 2020 (Dkts. 127-133)

        with Plaintiffs’ Responses due on September 30, 2020 (Dkt. 141).

     4. On September 22, 2020, over six (6) months after discovery ended and only a few days

        before Plaintiffs’ Response to Defendants’ Motions for Summary Judgment was due,

        Defendant City served on Plaintiffs’ counsel additional discovery. This significant

        disclosure included over 100 pages of a December 19, 2019 OIG Report that identifies

        relevant and discoverable information related to its investigation into Defendants Kevin

        Martin and Bill Helm.
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5. Specifically, Defendant City of Chicago’s attorney stated in an email as follows:

   “Counsel:

   We have recently learned that the deliberative process objection we made regarding
   the OIG report back in January/February is no longer applicable to the portions of
   the report related to Kevin Martin, so we have attached the OIG report portions
   related to him, along with OIG interview summaries related to that part of the
   investigation. We reaffirm our deliberative process objection as to the remainder of
   the report as final decisions have not been made on those portions. We further
   object as irrelevant to the portions of the report that are not related to any claims or
   defenses in this matter. Our paralegal is uploading the relevant, non-deliberative
   process materials through the drop box today. Please let us know if you have
   difficulty accessing it, and we can try other ways to get the documents to you. (It is
   too large of a file to send via email).

   Regards,

   Jessica R. Durkin
   Law Department-Employment Litigation
   City of Chicago
   30. N. LaSalle, Suite 1020
   Chicago, IL 60602
   jessica.durkin@cityofchicago.org”

6. After reviewing these previously non-disclosed materials, it appears that more discovery

   will need to be conducted, including of the OIG investigators, potentially of Kevin

   Martin (for a second time and limited to these disclosures), and potentially even others in

   the new disclosures yet to be determined.

7. Indeed, from a review of the discovery it appears that much of the investigation centered

   around the exact same issues in this lawsuit, and, therefore, further discovery could

   uncover prior statements of Kevin Martin and other witnesses that are directly relevant to

   the claims and defenses in this case, as well as to credibility of both of the Defendants.




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   Because the allegations in the OIG investigation overlay those in this lawsuit, this is

   particularly important discovery to prove Plaintiffs’ case.

8. The lateness of such disclosures is not causally linked to any act or omission by Plaintiffs

   because Plaintiffs previously requested this information well before the close of

   discovery, but were ultimately denied by the City’s assertion of legislative privilege.

9. As such, Plaintiffs did not have previous access to this information as the City asserted

   deliberative process privilege over same and the invocation of such privilege – at least at

   that time and before these disclosures – appeared to be legally sound.

10. Because the City originally asserted privilege over these documents and withheld them, it

   should not now be in a position to complain that Plaintiffs seek to strike their Motions for

   Summary Judgment and for leave to take additional discovery based on these new

   disclosures.

11. Plaintiffs are not filing this Motion for dilatory purposes, and there will be minimal

   prejudice to Defendants who have already written their Summary Judgment briefs, and,

   presumably, would only have to supplement/modify them to deal with any new issues

   raised by this additional discovery. In addition, as noted, it was Defendants’ choice to

   assert the privilege, and any prejudice or burden as a result falls on them for so doing.

12. While Plaintiffs have not completely ascertained how many additional depositions would

   need to be taken over the new discovery, it is estimated that it would be limited to four or

   five depositions.

13. In addition, Plaintiffs now assert that the entire OIG file must be produced but are

   continuing to assess the application of the deliberative process privilege in these

   circumstances and may file a motion after further research if appropriate.



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14. “[A] district court enjoys broad discretion, within the Federal Rules of Civil Procedure, to

   determine the manner and course of discovery.” Fisher v. National R.R. Passenger Corp.,

   152 F.R.D. 145, 149 (S.D. Ind. 1993). A discovery deadline schedule “may be modified

   only for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). See

   also Flint v. City of Belvidere, 791 F.3d 764, 768 (7th Cir. 2015) (“A decision to

   deny reopening discovery is reviewed for abuse of discretion.”). “The decision whether to

   grant a motion to reopen discovery rests within the sound discretion of the district

   court.” Winters v. Fru–Con, Inc., 498 F.3d 734, 743 (7th Cir.2007) (citing Raymond v.

   Ameritech Corp., 442 F.3d 600, 603 n. 2 (7th Cir.2006)); see also Kalis v. Colgate–

   Palmolive Co., 231 F.3d 1049, 1056 (7th Cir.2000).

15. This OIG Report should have been disclosed as part of its Rule 26 obligations. FRCP

   26(a)(1). Federal Rule of Civil Procedure 26(a)(1)(A)(ii) requires a party to provide to the

   other party a copy or description “of all documents, electronically stored information, and

   tangible things that the disclosing party has in its possession, custody, or control and may

   use to support its claims or defenses.” Parties are required, at the outset of a case, to

   identify individuals who may have discoverable information and to produce documents

   that the disclosing party may use to support its claims or defenses. Parties have a

   continuing duty to supplement their disclosures. FRCP 26(e).

16. Said OIG Reports have been in existence since on or about December 19, 2019, but only

   redacted portions were produced on the eve of Plaintiffs’ deadline to respond to

   Defendants’ Motions for Summary Judgment.

17. This late disclosure certainly prejudices the Plaintiffs who are unable to seek additional

   discovery about the assertions made in this OIG Report. As such, Defendants should not



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       benefit from its disclosure on the eve of Plaintiff’s Response to Defendants’ Motions for

       Summary Judgment.

   18. Because the City’s documentation is new and because Plaintiffs were precluded from

       reviewing such information due to the City’s assertion of privilege, and because there is

       minimal burden to Defendants who may simply refile their summary judgment briefs

       with any necessary modifications after new and limited discovery, this Court should grant

       this Motion to Strike Defendants’ Summary Judgment Motions (Dkts. 127-133) and

       reopen discovery limited to the new disclosures.

                                         CONCLUSION

For the foregoing reasons, Plaintiffs respectfully request that this Honorable Court grant

Plaintiffs’ Motion to strike Defendants’ Motions for Summary Judgment and to enter an order

reopening discovery for the limited purpose of addressing Defendant City of Chicago’s new

disclosures.


                                                     Respectfully submitted,

                                                     /s/ Gianna Scatchell
                                                     ____________________________________
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P: (312) 243-3303
E: gia@lawfirm.gs

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 1, 2020, she served the accompanying
Plaintiffs’ Motion to Strike Defendants’ Motions for Summary Judgment and to Reopen
Discovery on counsel for all Defendants via email to the below addresses and by this Court’s
CM/ECF filing system, and that such counsels are registered e-filers.



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                                                    /s/ Gianna Scatchell
                                                    ____________________________________
                                                    Plaintiffs’ Attorney




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